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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


IN DEFENSE OF ANIMALS            )
                                 )
     Plaintiff,                  )
                                 )
     v.                          ) Civil Action No. 02-0557 (RWR)
                                 )
THE UNITED STATES DEPARTMENT     )
  OF AGRICULTURE                 )
1400 INDEPENDENCE AVE., S.W.     )
WASHINGTON, D.C. 20250           )
                                 )
     Defendant.                  )
                                 )

                                ANSWER

     Defendant, by its undersigned attorneys, hereby answers the

Complaint as follows:

                            FIRST DEFENSE

     The Complaint fails to state a claim upon which relief can

be granted.

                            SECOND DEFENSE

     In response to the numbered paragraphs of the Complaint,

defendant admits, denies, or otherwise avers as follows:

     1.   First sentence:   This sentence contains plaintiff's

characterization of the action, which does not require an answer,

but to the extent that an answer may be deemed required, deny.

Second sentence:   Deny, except to aver that through a press

release dated April 1, 1998, defendant announced that it had

charged Huntingdon Life Sciences with violations of the Animal

Welfare Act, 7 U.S.C. §§ 2131-59 (2000).       Third sentence:       Deny,
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except to aver that through a press release dated April 14, 1998,

defendant announced that it had agreed to a consent decision and

order with Huntingdon Life Sciences regarding alleged violations

of the Animal Welfare Act.    Fourth sentence:     Deny, except to

aver that defendant's proceeding against Huntingdon Life Sciences

under the Animal Welfare Act was terminated by a consent decision

and order entered on April 8, 1998.

     2.   This paragraph consists of plaintiff's allegation

concerning jurisdiction, which does not require an answer, but to

the extent that an answer may be deemed required, deny.

     3.   First sentence:   Deny, for lack of knowledge or

information sufficient to form a belief as to the truth of the

allegations.   Second sentence:    Admit.

     4.   Admit.

     5.   Deny, as conclusions of law.

     6.   Deny, except to aver that through a press release dated

April 1, 1998, defendant announced that it had charged Huntingdon

Life Sciences with violations of the Animal Welfare Act.

     7.   Deny, except to aver that through a press release dated

April 14, 1998, defendant announced that it had agreed to a

consent decision and order with Huntingdon Life Sciences

regarding alleged violations of the Animal Welfare Act.

     8.   Deny, except to aver the receipt of a letter from

plaintiff dated November 20, 2000, to which the Court is
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respectfully referred for a complete and accurate statement of

its contents.

     9.    Deny, except to aver the transmittal of a letter to

plaintiff dated April 13, 2001, to which the Court is

respectfully referred for a complete and accurate statement of

its contents.

     10.   First clause:   Admit.    Second Clause:    Deny, as a

conclusion of law.

     11.   Deny, as conclusions of law.

     Each and every allegation not heretofore expressly admitted

or denied is denied.

     Defendant denies that plaintiff is entitled to the relief

prayed for or to any relief whatsoever.
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     WHEREFORE, defendant, having fully answered,

respectfully prays that this action be dismissed with prejudice

and that it be granted its costs.

                                    Respectfully submitted,




                                    ROSCOE C. HOWARD, JR.
                                    (D.C. Bar #246470)
                                    United States Attorney




                                    MARK E. NAGLE
                                    (D.C. Bar #416364)
                                    Assistant United States Attorney




Dated:    April 29, 2002            FRANK P. MENNA
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                                    United States Department of
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